Case 18-22868-CMB             Doc 22     Filed 10/10/18 Entered 10/10/18 14:15:19                 Desc Main
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                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE:                                             : Bankruptcy No. 18-22868-CMB
                                                   :
JOAN C. NONNENBERG                                 : Chapter 7
                                                   :
                            Debtor                 : Related to Doc. No. 17
                                                   :
   Natalie Lutz Cardiello, Trustee                 :
                                                   :
          Movant                                   :
                                                   :
     v.                                            :
                                                   :
   No Respondent(s)                                :


                            ORDER EMPLOYING PROFESSIONAL FOR TRUSTEE

                      10th day of _________________________,
      AND NOW, this ______           October                    18 upon consideration of the
                                                             20____,
APPLICATION TO APPOINT AN ATTORNEY FOR THE TRUSTEE, it is ORDERED, ADJUDGED
and DECREED as follows:

          1. The above referenced Application is hereby approved as of the date the Application was filed.

        2. The Law Offices of Natalie Lutz Cardiello, 107 Huron Drive, Carnegie, PA 15106 is hereby
appointed as Attorney for the Trustee in this bankruptcy proceeding for the reasons set forth in the
Application.

         3. Professional persons or entities performing services in the above case are advised that approval of
fees for professional services will be based not only on the amount involved and the results accomplished,
but other factors as well including: the time and labor reasonably required by counsel, the novelty and
difficulty of the issues presented, the skill requisite to perform the legal service properly, the preclusion of
other employment due to acceptance of this case, the customary fee, whether the fee is fixed or contingent,
the time limitations imposed by the client or the circumstances, the experience, reputation and ability of the
attorneys involved, the undesirability of the case, the nature and length of the professional relationship with
the client, and, awards in similar cases.

      4. Approval of any application for appointment of counsel in which certain hourly rates/
compensation terms are stated for various professionals is not an agreement by the Court to allow
fees at the requested hourly rates or compensation terms. Final compensation, awarded only after
notice and hearing, may be more or less than the requested hourly rates/compensation terms based
on application of the abovementioned factors in granting approval by Court Order.


                                                          __________________________________
                                                          CARLOTA M. BÖHM, Chief Judge
                                                          United States Bankruptcy Court
                                                                                           FILED
                                                                                           10/10/18 2:14 pm
                                                                                           CLERK
                                                                                           U.S. BANKRUPTCY
                                                                                           COURT - WDPA
